           Case 2:10-cr-00255-TSZ          Document 20        Filed 09/10/10     Page 1 of 2




 1

 2

 3

 4

 5

 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR10-255-JLR

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   JOSE GARCIA-AMEZCUA,
13
                                   Defendant.
14

15   Offense charged:
16          Count 1:        Conspiracy to Distribute Heroin, in violation of 21 U.S.C. §§ 841(a)(1),
17                          841(b)(1)(A), and 846

18          Count 8:        Distribution of Heroin, in violation of 21 U.S.C. § 841(a)(1),
                            841(b)(1)(C), and 18 U.S.C. § 2.
19
     Date of Detention Hearing: September 10, 2010
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            (1)     Defendant is a citizen of Mexico.
24
            (2)     An immigration detainer has been placed on defendant by the United States
25
                    Immigration and Customs Enforcement.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:10-cr-00255-TSZ         Document 20        Filed 09/10/10     Page 2 of 2




 1

 2
           (3)   Defendant has no ties to this jurisdiction.
 3
           (4)   There appear to be no conditions or combination of conditions other than
 4
                 detention that will reasonably assure the appearance of defendant as required or
 5
                 ensure the safety of the community.
 6
           IT IS THEREFORE ORDERED:
 7
           (1)   Defendant shall be detained and shall be committed to the custody of the
 8
                 Attorney General for confinement in a correction facility separate, to the extent
 9
                 practicable, from persons awaiting or serving sentences or being held in custody
10
                 pending appeal;
11
           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
12
                 counsel;
13
           (3)   On order of a court of the United States or on request of an attorney for the
14
                 government, the person in charge of the corrections facility in which defendant
15
                 is confined shall deliver the defendant to a United States Marshal for the
16
                 purpose of an appearance in connection with a court proceeding; and
17
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
18
                 counsel for the defendant, to the United States Marshal, and to the United States
19
                 Pretrial Services Officer.
20
           DATED this 10th day of September, 2010.
21

22                                              A
                                                JAMES P. DONOHUE
23                                              United States Magistrate Judge
24

25

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
